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     2001 East Campbell Avenue
2    Suite 103
3    Phoenix, AZ 85016
     Telephone No.: (602) 258-6000
4    Facsimile No.: (602) 258-6003

5    Michael P. Lane – 007435
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6
     Attorney for Robert A. MacKenzie, Trustee
7
                         IN THE UNITED STATES BANKRUPTCY COURT
8
                                FOR THE DISTRICT OF ARIZONA
9
     In re:                                            (Chapter 7 Case)
10
     GABRIEL B. CANO,                                  No. 2:19-bk-04507-EPB
11
                                                       TRUSTEE'S APPLICATION TO
12                  Debtor.                            EMPLOY ATTORNEY/DECLARATION
                                                       OF ATTORNEY
13

14            Robert A. MacKenzie, ("Trustee"), for his Application to Employ Attorney, respectfully
15
     alleges as follows:
16
              1.    This case was commenced by voluntary petition filed by the Debtor on April 16,
17

18   2019.

19            2.    Trustee is the duly qualified and acting trustee of the Chapter 7 Estate.
20
              3.    To perform the duties of a trustee, Trustee requires the services of an attorney for
21
     the following purpose:
22

23                  a.     To advise and consult with Trustee concerning issues arising in the conduct

24   of the administration of the Estate and concerning Trustee's rights and remedies with regard to the
25
     Estate's assets and the claims of secured, preferred and unsecured creditors and other parties in
26
     interest.
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 1                  b.      To appear for, prosecute, defend and represent the Estate's interest in suits
 2   arising in or related to this case.
 3
                    c.      To investigate and prosecute actions arising under the Trustee's avoiding
 4
     powers.
 5

 6                  d.      To assist in the preparation of such pleadings, motions, notices and orders as
 7   are required for the orderly administration of this Estate; and to consult with and advise Trustee
 8
     in connection with the operation of or the termination of the operation of any business of the
 9
     Debtor.
10

11          4.      For the foregoing reason and all other necessary and proper purposes, Trustee
12   desires to retain generally the law firm of Lane & Nach, P.C. (“Attorney”) as counsel for the
13
     Trustee.
14
            5.      Because Attorney practices in bankruptcy corporate reorganization, trustee and
15

16   debtor/creditor matters, and because of its experience in those fields, Trustee asserts that Attorney

17   is well qualified to render the foregoing services.
18
            6.      Based upon the Declaration attached hereto, Trustee believes that Attorney does not
19
     hold or represent any interest adverse to that of the Trustee, or the Estate and that Attorney is a
20

21   disinterested entity within the meaning of 11 U.S.C. §101(14).

22          7.      Trustee is informed that the normal billing rates of Attorney at this time are as
23
     follows:
24
                            Lawyers:             $375 - $225 per hour
25
                            Paralegals:          $175 - $ 50 per hour
26

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                                                    2
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 1          8.     It is contemplated that Attorney will seek compensation based upon its standard
 2   hourly billing rates. It is further contemplated that Attorney will seek interim compensation
 3
     during the case as permitted by 11 U.S.C. §331.
 4

 5          WHEREFORE, Trustee prays as follows:
 6
                   a.      For authority to employ Attorney, as of the date of this Application as
 7
     counsel for Trustee and the Estate, to render services in the areas described above with
 8

 9   compensation to be paid as an administrative expense in such amounts as this Court may
10   hereinafter determine; and,
11
                   b.   For such other and further relief as this Court deems just and proper.
12

13

14          DATED: 5/15/2019.
15
                                                       /s/ Robert A. MacKenzie, Trustee
16                                                     Trustee
     COPY of the foregoing mailed by 1st class mail:
17
     Gabriel B. Cano
18   8433 West Quail Track Drive
     Peoria, AZ 85383
19
     COPY of the foregoing delivered via electronic notification to:
20
     Office of U.S. Trustee
21   230 North First Avenue
     Phoenix, AZ 85003
22   Email: Patty.Chan@usdoj.gov
23
     By/s/ Sheila Rochin
24

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                                                 3
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                               DECLARATION OF MICHAEL P. LANE
1
            I, Michael P. Lane, declare:
2

3           A. I am an attorney duly admitted to practice before all courts of the State of Arizona, as

4    well as this Court and the Court of Appeals for the Ninth Circuit.
5
            B. I am a member of Lane & Nach, P.C., the law firm that the Trustee is seeking to
6
     employ generally by the Application to which this Declaration is attached. I have practiced
7

8    bankruptcy law in this District for approximately thirty years. All of the members and associates

9    of this law firm are admitted to practice in this State and before this Court.
10
            C. The attorneys employed by the law firm of Lane & Nach, P.C. have extensive
11
     experience in bankruptcy, insolvency, corporate reorganization and debtor/creditor law. The Firm
12

13   is well qualified to represent the Trustee generally herein, and is willing to accept employment on

14   the basis set forth in the annexed Application.
15
            D. The law firm of Lane & Nach, P.C. and its associates do not hold any interest or
16
     connections to this Estate, adverse or otherwise, or with the Debtor, creditors, or any other party-
17

18   in-interest, their respective attorneys and accountants, or any person employed in the Office of the

19   United States Trustee; and, said law firm is a disinterested entity as defined in 11 U.S.C.
20
     §101(14).
21
            E. Neither the undersigned nor the law firm have shared or agreed to share compensation
22

23   in this case with anyone except as professional fees are normally divided among members of Lane

24   & Nach, P.C.
25
            I declare under penalty of perjury that the foregoing is true and correct.
26
            DATED: May 15, 2019.
27
                                                  /s/ Michael P. Lane 007435
28                                                       Michael P. Lane

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